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                            UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF VIRGINIA
                                    ROANOKE DIVISION

In Re:                                                  *       CHAPTER 13
         Marcus & Angela Nordberg                       *
                                                        *       14-71096
                                 Debtors                *

            NOTICE TO SUNTRUST RE TREATMENT OF CLAIM IN CHAPTER 13 PLAN
                              AND NOTICE OF HEARING

         Come now Marcus and Angela Nordberg, Debtors, by counsel, and respectfully notice

SunTrust Bank as follows:

         The Debtors have proposed in their Plan to cure arrears to SunTrust Bank in the amount

of $2500.00, which is the amount they believe to be behind pre-petition, and to resume monthly

payments of $100.00 per month beginning September 1, 2014 on the SunTrust Note dated July

12, 2005 (herein known as the “Note”) and being secured by the property located at 6840

Hofawger Road, Boones Mill, VA 24065.

         SunTrust filed Proof of Claim #1 in the amount of $23,412.07.

         Per associate counsel's phone conversation with SunTrust representative Linda the claim

amount filed and the arrearage asserted represented the entire amount due on the account as the

account was accelerated due to being “charged off”. SunTrust could not verify the amount of

pre-petition arrears due to the acceleration of the debt.

         Per the conversation with the SunTrust representative, SunTrust is aware of the Debtors’

proposed payment plan and does not object to the terms of the Plan.

         It is not feasible for the Debtors to pay the entire claim during the life of the Plan.

         The Debtors propose that the Trustee pay SunTrust the pre-petition arrearage according

to the Plan and not the Proof of Claim.
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       If SunTrust objects to the treatment in the Plan it must file an objection to the plan within

the time limits set by Local Rule 3015-4 of the Western District of Virginia United States

Bankruptcy Court. Absent such objection the Trustee will pay according to the Plan.




Dated: August 29. 2014                                   /s/ Malissa Lambert Giles
                                                          Counsel

Malissa Lambert Giles, Esquire
GILES & LAMBERT, P.C.
P. O. Box 2780
Roanoke, VA 24001
(540) 981-9000
Counsel for Debtor
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                             UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF VIRGINIA
                                     ROANOKE DIVISION

In Re:                                                    *       CHAPTER 13
         Marcus & Angela Nordberg                         *
                                                          *       14-71096
                                 Debtor                   *

                                 NOTICE OF CONFIRMATION HEARING


         Please take notice that the United States Bankruptcy Court, Western District of Virginia,

         Roanoke Division, will consider confirmation of the pending Chapter 13 plan and any objections

         timely filed on the 6th day of October, 2014 at 9:30 a.m., at the United States Bankruptcy Court,

         2rd Floor Courtroom, 210 Church Street, SW, Roanoke, Virginia.



Dated: August 29, 2014                                                    /s/ Malissa Lambert Giles
                                                                          Counsel
                                 Certificate of Service

       I, Malissa Lambert Giles, hereby certify to the Court that I have mailed a copy of the
foregoing Notice and Notice of Hearing to

         SunTrust Bank
         Attn: Support Services
         Ashley M. Carter
         P.O. Box 85092
         Richmond, VA 23286

         SunTrust Bank
         Certifify - CEO

         and the Debtor, this 29th day of August, 2014, by first class mail.

                                                          /s/ Malissa L. Giles
